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              EXHIBIT E
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Chapman, Julia

From:                              McGowan, John <jmcgowan@wc.com>
Sent:                              Monday, January 13, 2025 3:00 PM
To:                                Boyden, Christie; Greenblum, Benjamin; Yeager, Christopher
Cc:                                Chapman, Julia; Leary, Rachel; Schnepper Junior, Lauren; 'Davis, Allen'
Subject:                           RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v.
                                   Google LLC, No. 20-cv-3715 | Search Terms for RFP 1 & 2



 [EXTERNAL EMAIL]
All:

Further to the companies’ conferrals, Google discloses the following topics that it intends to raise in tomorrow’s
JSR:

       1. Deadline for Microsoft’s compliance with Google’s custodial ESI requests;

       2. Microsoft’s refusal to produce documents relating to its interests in search and AI companies (i.e., RFP
          Nos. 9, 10, and 19 of Google’s second subpoena);

       3. Microsoft’s refusal to produce documents relating to Microsoft’s privacy and security measures (i.e.,
          Requests 12 and 13 of Google’s second subpoena).

As discussed, the companies will plan on a mutual exchange of position statements tomorrow at 7:00 pm EST.

Best,
John

John McGowan
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5574 | jmcgowan@wc.com | www.wc.com

From: McGowan, John
Sent: Friday, January 10, 2025 12:31 PM
To: Boyden, Christie <Christie.Boyden@dechert.com>; Greenblum, Benjamin <BGreenblum@wc.com>; Yeager,
Christopher <CYeager@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Leary, Rachel <Rachel.Leary@dechert.com>; Schnepper Junior,
Lauren <Lauren.SchnepperJunior@dechert.com>; Davis, Allen <allen.davis@orrick.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2

Christie,

Yes, we are available to meet at 8am ET on Monday. I’ll update the invite accordingly. Wishing Lauren a speedy
recovery.

Best,
John
                                                              1
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John McGowan
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5574 | jmcgowan@wc.com | www.wc.com

From: Boyden, Christie <Christie.Boyden@dechert.com>
Sent: Friday, January 10, 2025 11:33 AM
To: McGowan, John <jmcgowan@wc.com>; Greenblum, Benjamin <BGreenblum@wc.com>; Yeager, Christopher
<CYeager@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Leary, Rachel <Rachel.Leary@dechert.com>; Schnepper Junior,
Lauren <Lauren.SchnepperJunior@dechert.com>; Davis, Allen <allen.davis@orrick.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2

John,

Unfortunately, our colleague Lauren is sick and out of the office today, so we need to reschedule this afternoon’s
meet and confer. Is your team available to reschedule to Monday January 13 at 8am?

Best,
Christie

Christie Boyden
Associate

Dechert LLP
+1 202 261 3384 Direct
+1 571 271 8500 Mobile
christie.boyden@dechert.com
dechert.com


From: McGowan, John <jmcgowan@wc.com>
Sent: Tuesday, January 7, 2025 10:30 AM
To: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>; Greenblum, Benjamin <BGreenblum@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>; Yeager, Christopher <CYeager@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2


 [EXTERNAL EMAIL]
Lauren,

We will circulate dial-ins for meet and confers at 3pm ET on Thursday and at 2pm ET on Friday.

As you are aware, a Joint Status Report is due by January 14. So that the companies can include any dispute over search
terms in that submission, we ask that, by this Thursday, January 9, Microsoft either accept Google’s search string
proposals (and ﬁll in codenames) or make its own counterproposals. In the latter case, so that we can assess any burden
arguments Microsoft might interpose, we ask that you please provide hit counts for Google’s and Microsoft’s respective
proposals.


                                                             2
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Best,
John

John McGowan
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680 Maine Avenue, S.W., Washington, DC 20024
202-434-5574 | jmcgowan@wc.com | www.wc.com

From: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>
Sent: Tuesday, January 7, 2025 9:16 AM
To: McGowan, John <jmcgowan@wc.com>; Greenblum, Benjamin <BGreenblum@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>; Yeager, Christopher <CYeager@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2

Counsel:

We are available to meet on Thursday. However, we cannot meet today due to scheduling conﬂicts. We are
available to set up a second meet and confer on Friday after 2pm ET, or early next week.

Best,
Lauren


Lauren Schnepper Junior
Associate

Dechert LLP
+1 202 261 3476
lauren.schnepperjunior@dechert.com
dechert.com



From: McGowan, John <jmcgowan@wc.com>
Sent: Friday, January 3, 2025 10:06 AM
To: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>; Greenblum, Benjamin <BGreenblum@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>; Yeager, Christopher <CYeager@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2


 [EXTERNAL EMAIL]
Counsel:

Following up on the below correspondence, we propose two conferrals for this coming week to cover the following
topics:

    1. Subpoena No. 1: outstanding go-get and data requests; proposed search strings for RFP Nos. 1-5 and 38,
       including the status of your inquiries into Microsoft’s code names, hit counts, and anticipated timing;


                                                             3
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    2. Subpoena No. 2: Microsoft’s responses and objections; proposed search strings for RFP Nos. 2, 4, 5, 7, 15, and
       16.

For the conferral as to Subpoena No. 1, we are available on Tuesday, January 7 from 11:30am to 12:30pm and 3:30pm to
5pm ET. For the conferral as to Subpoena No. 2, we are available on Thursday, January 9 from 2pm to 4pm ET. Please let
us know what times would work for you, and we will circulate an invite.

Thanks,

John

John McGowan
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5574 | jmcgowan@wc.com | www.wc.com

From: McGowan, John <jmcgowan@wc.com>
Sent: Thursday, December 26, 2024 2:33 PM
To: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>; Greenblum, Benjamin <BGreenblum@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>; Yeager, Christopher <CYeager@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2

Lauren,

Please see attached correspondence regarding search terms for Google’s subpoena requests, and in response to
certain proposed deﬁnitions in your December 23 letter.

Best,

John

John McGowan
Williams & Connolly LLP
680 Maine Avenue, S.W., Washington, DC 20024
202-434-5574 | jmcgowan@wc.com | www.wc.com

From: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>
Sent: Monday, December 23, 2024 8:05 PM
To: Greenblum, Benjamin <BGreenblum@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>; Yeager, Christopher <CYeager@wc.com>;
McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2

Ben –

Please see the attached correspondence in response to your letter from 12/16.

Best,
                                                             4
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Lauren


Lauren Schnepper Junior
Associate

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+1 202 261 3476
lauren.schnepperjunior@dechert.com
dechert.com



From: Greenblum, Benjamin <BGreenblum@wc.com>
Sent: Monday, December 16, 2024 12:15 PM
To: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>; Yeager, Christopher <CYeager@wc.com>;
McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2


 [EXTERNAL EMAIL]
Lauren, I am reverting on the below email. Pending your response, in the interest of time, we attach a counterproposal
on search terms. We reserve our right to amend it based upon Microsoft’s responses to the below questions, and based
upon disclosure of a hit report.

Separately, we enclose a letter regarding other outstanding RFPs.

Thank you.

Ben

From: Greenblum, Benjamin <BGreenblum@wc.com>
Sent: Friday, December 13, 2024 2:55 PM
To: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>; Yeager, Christopher <CYeager@wc.com>;
McGowan, John <jmcgowan@wc.com>
Subject: RE: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2

Lauren:

Thank you for the proposed search terms. We are reviewing and will be back to you shortly with a counterproposal.
Initial questions to help frame our counterproposal:

      1. For the proposed term “[enter Copilot/AI agreement name(s)],” did you intend to include such names in
         your proposal? To clarify, we have to date received no such agreements from Microsoft, so we are not in a
         position to ﬁll in that gap.
      2. Some of the proposed terms seem fairly dated, and so we would like to conﬁrm that Microsoft has
         diligenced the extent to which its proposal includes the right terms for a search from May 2022 to
         present. For example, we would not think that searches for, e.g., “Internet Explorer” or “Cortana” or “MSN
                                                             5
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        Search” in that timeframe would yield much if anything. Relatedly, do you have a hit report for your
        proposed searches?
     3. In regards to potential custodians, we of course agree that the three you propose should be included in this
        search, but request a response to the attached email from Wednesday on that subject.

Additionally, so that we can negotiate custodial ESI parameters sufficient to address the testimony of Messrs.
Beard, Cromwell and Schechter, can you advise—based on your consultations with Plaintiffs—whether the topics
disclosed on rows 19, 20 and 21 of Plaintiffs’ initial fact witness list (ECF 1065-1) are the expected scope of their
testimony? Because those topics will require additional searches, in order to productively confer, and to address
any burden concerns while ensuring adequate disclosure ahead of their testimony, if you can provide that
information, it will move things along.

Thanks and have a good weekend.

Ben



From: Schnepper Junior, Lauren <Lauren.SchnepperJunior@dechert.com>
Sent: Thursday, December 12, 2024 6:22 PM
To: Greenblum, Benjamin <BGreenblum@wc.com>; Yeager, Christopher <CYeager@wc.com>; McGowan, John
<jmcgowan@wc.com>
Cc: Chapman, Julia <Julia.Chapman@dechert.com>; Boyden, Christie <Christie.Boyden@dechert.com>; Leary, Rachel
<Rachel.Leary@dechert.com>; Davis, Allen <allen.davis@orrick.com>
Subject: United States, et al. v. Google LLC, No. 20-cv-3010 / State of Colorado, et al. v. Google LLC, No. 20-cv-3715 |
Search Terms for RFP 1 & 2

Counsel:

Microsoft’s proposed search terms for RFPs 1 & 2 are included below. We plan to run these search terms across
Jon Tinter’s, Shilpa Anand’s, and Charlie Beard’s custodial ﬁles from May 6, 2022 to present.

Please conﬁrm these search terms are agreeable to you.

Best,
Lauren

 #    RFP     Term
 1    1, 2    ((agreement OR agreements OR contract OR contracts OR partner OR partnership OR redline OR
              A2N OR “approval to negotiate” OR FGNG OR “Final Go No Go” OR negotiate OR negotiates OR
              negotiated OR negotiating OR negotiation OR negotiations OR analyze OR analyzes OR analyzed OR
              analyzing OR analysis OR analyses OR “joint venture” OR JV OR relationship OR relationships OR
              collaborate OR collaborates OR collaborated OR collaboration OR collaborations) w/12 ((exclusive
              OR exclusivity OR DSE OR default OR pre-install OR pre-installs OR pre-installing OR pre-
              installation OR preinstall OR preinstalls OR preinstalling OR preinstallation OR pre-set OR pre-sets
              OR pre-setting OR preset OR presets OR presetting OR place OR places OR placed OR placing OR
              placement OR promote OR promotes OR promoted OR promoting OR promotion OR distribute OR
              distributes OR distributed OR distributing OR distribution OR mango OR preload OR preloads OR
              preloaded OR preloading OR pre-load OR pre-loads OR pre-loaded OR pre-loading or syndicate OR
              syndication OR “revenue share” OR “rev share” OR revshare OR MADA) w/8 (Bing OR “live search”
              OR “MSN search” OR Edge OR Spartan OR Anaheim OR “Internet Explorer” OR IE OR Cortana OR
              adCenter OR “Microsoft Advertising” OR Copilot OR “Bing Chat” OR Gemini))) OR (“Bing services
              master agreement” OR “search distribution agreement” OR “search services agreement” OR
                                                             6
              Case 1:20-cv-03010-APM                 Document 1141-5             Filed 01/16/25         Page 8 of 9
               “search settings agreement” OR “advertising services agreement” OR [enter Copilot/AI agreement
               name(s)])
 2    1, 2     ((agreement OR agreements OR contract OR contracts OR partner OR partnership OR redline OR
               A2N OR “approval to negotiate” OR FGNG OR “Final Go No Go” OR negotiate OR negotiates OR
               negotiated OR negotiating OR negotiation OR negotiations OR analyze OR analyzes OR analyzed OR
               analyzing OR analysis OR analyses OR “joint venture” OR JV OR relationship OR relationships OR
               collaborate OR collaborates OR collaborated OR collaboration OR collaborations OR MADA) w/20
               (browser OR browsers OR assistant OR Apple OR Baja OR Siri OR Spotlight OR Safari OR Google OR
               Yahoo OR “Y!” OR Oath OR DuckDuckGo OR DDG OR “Duck Go” OR Ecosia OR Chrome OR
               Facebook OR OR Amazon OR AMZN OR Alexa OR FireOS OR “Fire Phone” OR Kindle OR Silk OR
               Verizon OR Brave OR Mozilla OR Firefox OR Opera OR SeaMonkey OR “Pale Moon” OR Bixby OR
               Cerence OR search OR Bing OR adCenter OR “Microsoft Advertising” OR Edge OR Copilot OR “Bing
               Chat” OR Gemini OR “HMD” or “Honor” or “Huawei” or “Motorola” or “OPPO” or “Samsung” or
               “Xiaomi” or “Vivo” or “TCL” or “AT&T” or “AT&T” or “T-Mobile” or “KDDI” or “Orange” or “Vodafone”
               or “Telefonica” or “DOCOMO”) w/20 (exclusive OR exclusivity OR DSE OR default OR pre-install OR
               pre-installs OR pre-installing OR pre-installation OR preinstall OR preinstalls OR preinstalling OR
               preinstallation OR pre-set OR pre-sets OR pre-setting OR preset OR presets OR presetting OR place
               OR places OR placed OR placing OR placement OR promote OR promotes OR promoted OR
               promoting OR promotion OR distribute OR distributes OR distributed OR distributing OR distribution
               OR mango OR preload OR preloads OR preloaded OR preloading OR pre-load OR pre-loads OR pre-
               loaded OR pre-loading or syndicate OR syndication OR “revenue share” OR “rev share” OR revshare
               OR MADA)


Lauren Schnepper Junior
Associate

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dechert.com




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